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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
       v.                                           §                   Case No. 1:25:cr-257
                                                    §
JAMES LAEL JENSEN                                   §
MAXWELL STERLING JENSEN                             §
a/k/a “Max”                                         §
KELLY ANNE JENSEN                                   §
ZACHARY GOLDEN JENSEN                               §

            DEFENDANT MAXWELL STERLING JENSEN’S BRADY MOTION

TO THE HONORABLE COURT:

       Defendant Maxwell Sterling Jensen, through his counsel, Robert L. Guerra, Jr., pursuant

to the provisions of the Fifth and Sixth Amendments to the Constitution of the United States,

respectfully moves this honorable court to instruct the attorney representing the government in

this case to make available for defendant’s inspection and copying or photographing any

evidence or information within the possession, custody or control of the government, or any of

its agencies, the existence of which is known, or by the exercise of due diligence may become

known, to the government's attorney, and which is favorable to the defendant on the issue of

guilt or innocence or which may tend to mitigate or lessen punishment in the event the jury

should return a verdict of guilty. Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194, 10 L. Ed. 2d

215 (1963); Giglio v. U.S., 405 U.S. 150, 92 S. Ct. 763, 31 L. Ed. 2d 104 (1972):

       Defendant’s request for Brady materials includes, but is not limited to, the following:

               a. Any written or recorded statement of any person which contains information

               favorable to the defendant;
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               b. The substance of any oral statement which contains information favorable to

               the defendant;

               c. The names and addresses of all persons who have, or who may have,

               information favorable to the defendant;

               d. The names and addresses of all persons interviewed by the government, or any

               of its agencies, in connection with this investigation but who the government does

               not intend to call as witnesses in this case; and

               e. Any information which may tend to adversely affect the credibility of any

               persons called as a witness by the government, (Giglio v. United States, supra;

               United States v. Agurs, supra) including the arrest and/or conviction record of

               each government witness, and including any offers of immunity or lenience,

               whether made directly or indirectly to any government's witness in exchange for

               testimony.

                                     Certificate of Conference

       Pursuant to S.D. Tex. Cr. LR 12.2, counsel for Maxwell Sterling Jensen attempted to

confer with Assistant United States Attorney Laura Garcia, as to her position in this Motion and

as of the time of this filing was unable to confer.

                                               Prayer

       Defendant, therefore, respectfully requests that the Court grant this Motion. If the Court

deems it necessary, Defendant requests the Court set a hearing to consider further evidence and

arguments in this matter.

                                       Respectfully submitted,

                                       LAW OFFICE OF ROBERT GUERRA, PLLC
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                                     By: /s/ Robert L. Guerra, Jr.
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                                             MAXWELL STERLING JENSEN


                               CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document was served via e-
mail on this 15th day of May 2025 to the following:

        Ms. Laura Garcia                          ___________ Regular Mail
        Assistant United States Attorney          ___________ Certified Mail, RRR
        United States Attorney’s Office           ___________ Hand Delivery
        600 E. Harrison, Rm 201                   ___________ Facsimile
        Brownsville, Texas 78520                        X     Electronic Mail
        Ph: (956) 548-2554
        Email: laura.garcia@usdoj.gov


                                            /s/ Robert L. Guerra, Jr.
                                            ROBERT L. GUERRA, JR.
